Case 1:25-cv-11472-ADB   Document 54-7   Filed 06/05/25   Page 1 of 8




                  Exhibit 35
6/5/25, 12:00 AM      Case 1:25-cv-11472-ADB
                                     Enhancing NationalDocument       54-7 Risks
                                                        Security by Addressing Filed   06/05/25
                                                                                  at Harvard University –Page  2 of
                                                                                                         The White    8
                                                                                                                   House


                                                                  The WHITE HOUSE




                                                             PRESIDENTIAL ACTIONS

                                        ENHANCING NATIONAL SECURITY BY ADDRESSING
                                               RISKS AT HARVARD UNIVERSITY


                                                                     Proclamations


                                                                      June 4, 2025




                          BY THE PRESIDENT OF THE UNITED STATES OF AMERICA


                                                             A PROCLAMATION
 Admission into the United States to attend, conduct research, or teach at our Nation’s
 institutions of higher education is a privilege granted by our Government, not a
 guarantee. That privilege is necessarily tied to the host institution’s compliance and
 commitment to following Federal law. Harvard University has failed in this respect,
 among many others.
 The Student Exchange Visa Program (SEVP) depends fundamentally on academic
 institutions’ good faith, transparency, and full adherence to the relevant regulatory
 frameworks. This is for crucial national-security reasons. The Federal Bureau of
 Investigation (FBI) has long warned that foreign adversaries and competitors take
 advantage of easy access to American higher education to, among other things, steal
 technical information and products, exploit expensive research and development to
 advance their own ambitions, and spread false information for political or other reasons.
 Our adversaries, including the People’s Republic of China, try to take advantage of
 American higher education by exploiting the student visa program for improper
 purposes and by using visiting students to collect information at elite universities in the
 United States.
https://www.whitehouse.gov/presidential-actions/2025/06/enhancing-national-security-by-addressing-risks-at-harvard-university/   1/7
6/5/25, 12:00 AM      Case 1:25-cv-11472-ADB
                                     Enhancing NationalDocument       54-7 Risks
                                                        Security by Addressing Filed   06/05/25
                                                                                  at Harvard University –Page  3 of
                                                                                                         The White    8
                                                                                                                   House

 Protecting our national security requires host institutions of foreign students to provide
 sufficient information, when asked, to enable the Federal Government to identify and
 address misconduct by those foreign students. In my judgment, it presents an
 unacceptable risk to our Nation’s security for an academic institution to refuse to provide
 sufficient information, when asked, about known instances of misconduct and
 criminality committed by its foreign students. This principle is one reason why SEVP
 regulations require foreign students to obey Federal and State criminal laws and require
 universities to keep records about foreign students’ studies in the United States —
 including records relating to criminal activity by foreign students and resulting
 disciplinary proceedings — and furnish them to the Department of Homeland Security
 (DHS) on request.
 Crime rates at Harvard University — including violent crime rates — have drastically risen
 in recent years. Harvard has failed to discipline at least some categories of conduct
 violations on campus. Given these facts, it is imperative, in my judgment, that the
 Federal Government be able to assess and, if necessary, address misconduct and crimes
 committed by foreign students at Harvard.
 Despite the risks described above, Harvard University has refused the recent requests of
 the DHS for information about foreign students’ “known illegal activity,” “known
 dangerous and violent activity,” “known threats to other students or university
 personnel,” “known deprivation of rights of other classmates or university personnel,”
 and whether those activities “occurred on campus,” and other related data. Harvard
 provided data on misconduct by only three students, and the data it provided was so
 deficient that the DHS could not evaluate whether it should take further actions.
 Harvard’s actions show that it either is not fully reporting its disciplinary records for
 foreign students or is not seriously policing its foreign students. In my judgment, these
 actions and failures directly undermine the Federal Government’s ability to ensure that
 foreign nationals admitted on student or exchange visitor visas remain in compliance
 with Federal law.
 These concerns have compelled the Federal Government to conclude that Harvard
 University is no longer a trustworthy steward of international student and exchange
 visitor programs. When a university refuses to uphold its legal obligations, including its
 recordkeeping and reporting obligations, the consequences ripple far beyond the
 campus. They jeopardize the integrity of the entire United States student and exchange

https://www.whitehouse.gov/presidential-actions/2025/06/enhancing-national-security-by-addressing-risks-at-harvard-university/   2/7
6/5/25, 12:00 AM      Case 1:25-cv-11472-ADB
                                     Enhancing NationalDocument       54-7 Risks
                                                        Security by Addressing Filed   06/05/25
                                                                                  at Harvard University –Page  4 of
                                                                                                         The White    8
                                                                                                                   House

 visitor visa system, compromise national security, and embolden other institutions to
 similarly disregard the rule of law.
 Harvard University has also developed extensive entanglements with foreign countries,
 including our adversaries. According to The Harvard Crimson, Harvard has received
 more than $150 million in total contributions from foreign governments over the last 5
 years, and over $1 billion from foreign sources. Over the last 10 years, Harvard has
 received more than $150 million from China alone. In exchange, Harvard has, among
 other things, “repeatedly hosted and trained members of a Chinese Communist Party
 paramilitary organization,” according to a probe by the House of Representatives Select
 Committee on the Chinese Communist Party. Harvard researchers have also partnered
 with China-based individuals on research that could advance China’s military
 modernization, according to the same probe.
 Finally, Harvard University continues to flout the civil rights of its students and faculty,
 triggering multiple Federal investigations. Harvard’s discrimination against disfavored
 races in admissions was so blatant that the Supreme Court decision ending the practice
 nationwide bears Harvard’s name. Yet even after that Supreme Court decision, Harvard
 and its affiliated organizations on campus continue to deny hardworking Americans
 equal opportunities. Instead of those Americans, Harvard admits students from non-
 egalitarian nations, including nations that seek the destruction of the United States and
 its allies, or the extermination of entire peoples. It is not in the interest of the United
 States to further compound Harvard’s discrimination against non-preferred races,
 national origins, shared ancestries, or religions by further reducing opportunities for
 American students through excessive foreign student enrollment.
 Considering these facts, I have determined that it is necessary to restrict the entry of
 foreign nationals who seek to enter the United States solely or principally to participate
 in a course of study at Harvard University or in an exchange visitor program hosted by
 Harvard University. Such restrictions are authorized under sections 212(f) and 215(a) of
 the Immigration and Nationality Act (INA), 8 U.S.C. 1182(f) and 1185(a), which authorize
 the President to suspend entry of any class of aliens whose entry would be detrimental
 to the interests of the United States. I have determined that the entry of the class of
 foreign nationals described above is detrimental to the interests of the United States
 because, in my judgment, Harvard’s conduct has rendered it an unsuitable destination
 for foreign students and researchers. Until such time as the university shares the
 information that the Federal Government requires to safeguard national security and the
https://www.whitehouse.gov/presidential-actions/2025/06/enhancing-national-security-by-addressing-risks-at-harvard-university/   3/7
6/5/25, 12:00 AM      Case 1:25-cv-11472-ADB
                                     Enhancing NationalDocument       54-7 Risks
                                                        Security by Addressing Filed   06/05/25
                                                                                  at Harvard University –Page  5 of
                                                                                                         The White    8
                                                                                                                   House

 American public, it is in the national interest to deny foreign nationals access to Harvard
 under the auspices of educational exchange.
 NOW, THEREFORE, I, DONALD J. TRUMP, President of the United States of America, by
 the authority vested in me by the Constitution and the laws of the United States of
 America, including sections 212(f) and 215(a) of the INA, 8 U.S.C. 1182(f) and 1185(a), and
 section 301 of title 3, United States Code, hereby find that, absent the measures set
 forth in this proclamation, the entry into the United States of persons described in
 section 1 of this proclamation would, except as provided for in section 2 of this
 proclamation, be detrimental to the interests of the United States, and that their entry
 should be subject to certain restrictions, limitations, and exceptions. I hereby proclaim
 as follows:
 Section 1. Suspension of Entry. The entry of any alien into the United States as a
 nonimmigrant to pursue a course of study at Harvard University under section 101(a)(15)
 (F) or section 101(a)(15)(M) of the INA, 8 U.S.C. 1101(a)(15)(F) or 1101(a)(15)(M), or to
 participate in an exchange visitor program hosted by Harvard University under section
 101(a)(15)(J) of the INA, 8 U.S.C. 1101(a)(15)(J), is suspended and limited, subject to
 section 2 of this proclamation. That suspension and limitation shall expire, absent
 extension, 6 months after the date of this proclamation.
 Sec. 2. Scope and Implementation of Suspension and Limitation on Entry. (a) The
 suspension and limitation on entry pursuant to section 1 of this proclamation shall apply
 to aliens who enter or attempt to enter the United States to begin attending Harvard
 University through the SEVP after the date of this proclamation.
 (b) The Secretary of State shall consider, in the Secretary’s discretion, whether foreign
 nationals who currently attend Harvard University and are in the United States pursuant
 to F, M, or J visas and who otherwise meet the criteria described in section 1 of this
 proclamation should have their visas revoked pursuant to section 221(i) of the INA, 8
 U.S.C. 1201(i).
 (c) The suspension and limitation on entry pursuant to section 1 of this proclamation
 shall not apply to any alien who enters the United States to attend other universities
 through the SEVP.
 (d) The suspension and limitation on entry pursuant to section 1 of this proclamation
 shall not apply to any alien whose entry would be in the national interest, as
 determined by the Secretary of State, the Secretary of Homeland Security, or their
 respective designees.
https://www.whitehouse.gov/presidential-actions/2025/06/enhancing-national-security-by-addressing-risks-at-harvard-university/   4/7
6/5/25, 12:00 AM      Case 1:25-cv-11472-ADB
                                     Enhancing NationalDocument       54-7 Risks
                                                        Security by Addressing Filed   06/05/25
                                                                                  at Harvard University –Page  6 of
                                                                                                         The White    8
                                                                                                                   House

 (e) No later than 90 days after the date of this proclamation, the Attorney General and
 the Secretary of Homeland Security shall jointly submit to the President, through the
 Assistant to the President for National Security Affairs, a recommendation on whether
 an extension or renewal of the suspension and limitation on entry in section 1 of this
 proclamation is in the interests of the United States.
 Sec. 3. Operational Action to Implement this Order. The Secretary of State, the Attorney
 General, and the Secretary of Homeland Security shall coordinate to take all necessary
 and appropriate action to implement this proclamation. The Secretary of State, the
 Attorney General, and the Secretary of Homeland Security shall also consider using their
 respective authorities under the INA to impose limitations on Harvard University’s ability
 to participate in the SEVP and the Student and Exchange Visitor Information System.
 Any such actions should include an exception for any alien whose entry would be in the
 national interest, as determined by the Secretary of State, the Secretary of Homeland
 Security, or their respective designees.
 Sec. 4. General Provisions. (a) Nothing in this proclamation shall be construed to impair
 or otherwise affect:
 (i) the authority granted by law to an executive department or agency, or the head
 thereof; or
 (ii) the functions of the Director of the Office of Management and Budget relating to
 budgetary, administrative, or legislative proposals.
 (b) This proclamation shall be implemented consistent with applicable law and subject
 to the availability of appropriations.
 (c) This proclamation is not intended to, and does not, create any right or benefit,
 substantive or procedural, enforceable at law or in equity by any party against the United
 States, its departments, agencies, or entities, its officers, employees, or agents, or any
 other person.
 IN WITNESS WHEREOF, I have hereunto set my hand this fourth day of June, in the year
 of our Lord two thousand twenty-five, and of the Independence of the United States
 of America the two hundred and forty-ninth.
                        DONALD J. TRUMP




https://www.whitehouse.gov/presidential-actions/2025/06/enhancing-national-security-by-addressing-risks-at-harvard-university/   5/7
Case 1:25-cv-11472-ADB   Document 54-7   Filed 06/05/25   Page 7 of 8
Case 1:25-cv-11472-ADB   Document 54-7   Filed 06/05/25   Page 8 of 8
